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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    (at Frankfort)

 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )      Criminal Action No. 3: 08-21-DCR
                                               )
 V.                                            )
                                               )
 LEONARD LAWSON, and                           )        MEMORANDUM OPINION
 CHARLES WILLIAM NIGHBERT,                     )            AND ORDER
                                               )
        Defendants.                            )

                                     *** *** *** ***

       Count 2 of the superseding Indictment charges Nighbert with stealing, obtaining by fraud,

and converting the Kentucky Department of Transportation (“KTC”) funds for payment on

various road contracts and the engineer estimates for those contracts. Count 1 of the superseding

Indictment charges both Nighbert and Lawson with conspiring to steal, obtain by fraud, and

convert the road contract funds and the engineer estimates. Defendants Lawson and Nighbert

have moved to dismiss both Counts 1 and 2. [Record No. 329] They contend that the

superseding Indictment is legally insufficient to support a charge under 18 U.S.C. § 666(a)(1)(A)

regarding the engineer estimates because the estimates are not “property” under this statutory

section. In addition, the Defendants argue that Counts 1 and 2 must be dismissed because the

superseding Indictment does not allege facts sufficient to support a charge under § 666(a)(1)(A)

regarding the road contract funds or the engineer estimates.




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       For the reasons discussed below, the Defendants’ motion to dismiss these counts will be

denied.

       I.      Analysis

               A.     The Estimates are Property Within the Meaning of § 666(a)(1)(A).

       Title 18 of the United States Code, § 666(a)(1)(A), specifies that the object of the

“stealing, obtaining by fraud, or converting” must be “property.” Although the superseding

Indictment asserts that “the engineer’s estimate was the confidential, proprietary property of the

KTC,” the Defendants contend that these estimates are not property within the meaning of §

666(a)(1)(A). Rather, they argue that the estimates are merely intangible information, i.e.,

numbers estimated by KTC engineers. Resolution of this issue turns on whether the term

“property” used in § 666(a)(1)(A) includes intangible, as well as tangible, property.

       The Defendants rely on principles of statutory construction to support their argument that

intangible property is not included within the definition of “property” in § 666(a)(1)(A). They

note the term “anything of value” is used in § 666(a)(1)(B) and (a)(2) to describe the object

given, offered, solicited, or demanded for a bribe. However, the less expansive term “property”

is used in § 666(a)(1)(A) to describe the object that is stolen, obtained, by fraud, or converted.

Where Congress included particular language in one section of a statute but omits it in another

section of the same act, it is generally presumed that the legislative body acted intentionally and

purposefully in this disparate inclusion or exclusion. Russello v. United States, 464 U.S. 16, 23

(1983). Thus, the Defendants argue that Congress must have intended for the term “property”




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in § 666(a)(1)(A) and the term “anything of value” in § 666(a)(1)(B) and (a)(2) to have different

meanings.

       In addition, the Defendants note that the term “thing of value” used in 18 U.S.C. § 641

has been construed to encompass both tangible and intangible property. United States v. Jeter,

775 F.2d 670, 680 (6th Cir. 1985) (citing Burnett v. United States, 222 F.2d 426 (6th Cir. 1955)).

As the Sixth Circuit explained, “Congress’ very use of the more expansive “thing of value”

rather than “property” strongly implies coverage beyond mere tangible entities.” Id. By

analogy, the Defendants urge the Court to conclude that, by using the less expansive term

“property” instead of “anything of value” in § 666(a)(1)(A), Congress must have intended that

“property” not include intangible property.

       However, when addressing whether “property” in § 666(a)(1)(A) includes intangible

property, the Sixth Circuit explained:

       it seems that Congress intended section 666[(a)(1)(A)] to augment the general
       theft statute of section 641. . . . By its literal terms, section 641’s notion of
       property is broader than section 666[(a)(1)(A)]. Section 641 provides for
       prosecution of anyone who “knowingly converts . . . any . . . thing of value.” We
       have previously found that the theft prohibition in section 641 applies both where
       intangible and tangible property has been stolen. Section 666[(a)(1)(A)] does not
       use the “thing of value” language of section 641. Nonetheless, Congress seems
       to have intended 666[(a)(1)(A)] to expand the ability of prosecutors to prosecute
       persons who were for technical reasons out of section 641’s reach. Consequently,
       we find section 666[(a)(1)(A)]’s notion of “property”was intended to dovetail
       with the notion of property in section 641 and to be coextensive in its reach.

United States v. Sanderson, 966 F.2d 184, 188–89 (6th Cir. 1992) (internal citations omitted)

(emphasis original). Based on this reasoning, the court held that “Sanderson’s theft of employee




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time is as much a theft of property as his theft of paint supplies, for the purposes of his section

666(a)(1)(A) conviction.” Id. at 189.

       The Defendants attempt to distinguish Sanderson by arguing that employee time and

engineer’s estimates are materially different types of intangible property. However, this

argument takes an overly narrow view of the Sanderson holding. The Court interprets

Sanderson as concluding that employee time is property within the meaning of this term in §

666(a)(1)(A) because this term includes both tangible and intangible property.

       The Defendants acknowledge that holding that the engineer estimates do not constitute

property within the meaning of § 666(a)(1)(A) would be inconsistent with Sanderson. However,

they also argue that holding that the estimates are property would be inconsistent with the

analysis in Jeter. In addition, it would also be inconsistent with the general rule of statutory

construction that disparate inclusion or exclusion of a term is intentional, because such a holding

would mean that there is no difference between the term “property” in § 666(a)(1)(A) and

“anything of value” in § 666(a)(1)(B) and (a)(2).

       Inconsistencies exist regardless of which holding is reached. However, in Sanderson, the

Sixth Circuit was clear and direct in explaining why intangible property should be included

within the meaning of “property” in § 666(a)(1)(A). Under this authority, the Court holds that

engineer estimates constitute “property” within the meaning in § 666(a)(1)(A).

               B.     The Indictment is Legally Sufficient.

       An indictment “must be a plain, concise, and definite written statement of the essential

facts constituting the offense charged.” FED. R. CRIM. P. 7. In the present case, the superseding



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Indictment alleges sufficient facts, which, if proven, would support the offenses charged under

§ 666(a)(1)(A).

                       (1)     § 666(a)(1)(A) Charges Related to Road Contract Funds

       The superseding Indictment alleges sufficient facts to support a charge under §

666(a)(1)(A) regarding the road contract funds. It alleges that the “KTC has the responsibility

of letting contracts to private entities for the construction or repair of state roads and highways,”

and that Nighbert was “the Secretary of the KTC, its chief administrative officer, and ultimately

responsible for the process of letting the [road] contracts.” Despite these factual assertions, the

Defendants contend that Nighbert could not have violated § 666(a)(1)(A) because he never

possessed the road contract funds. Rather, they argue that the KTC awards committee was

tasked with awarding the funds to the winning bidder, and that Nighbert is not alleged to have

been a member of the awards committee. Therefore, the Defendants contend that the KTC

awards committee – and not Nighbert – was in possession of these funds.

       This argument fails because it ignores the possibility that Nighbert, in his capacity as the

chief administrative officer of the KTC, had constructive possession of road contract funds

awarded by the committee. “Constructive possession exists when a person does not have

physical possession but instead knowingly has the power and the intention at a given time to

exercise dominion and control over an object, either directly or through others.” United States

v. Hunter, 558 F.3d 495, 504 (6th Cir. 2009). If the government establishes at trial that Nighbert

had power and intention to exercise dominion and control over the road contract funds awarded




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to Lawson, then the government could establish that Nighbert was in constructive possession of

these funds.

                      (2)     § 666(a)(1)(A) Charges Related to Engineer’s Estimates

       The superseding Indictment alleges sufficient facts to support a charge of conversion

under § 666(a)(1)(A) regarding the engineer estimates. Nighbert disputes this and argues that

conversion can no longer be charged because of changed language in Count 2 of the superseding

Indictment. The original Indictment alleged that Nighbert “caused to be provided to a bidder on

road contracts confidential information that compromised the bidding process and artificially

increased the amount of the contracts.” (emphasis added). However, Count 2 of the superseding

Indictment alleges that Nighbert “caused to be provided to a bidder on road contracts

confidential information that could compromise the bidding process and artificially increase the

amount of the contract.” (Emphasis added.)

       The Defendants contend that, because Count 2 no longer alleges that the estimates were

actually used to inflate the bids and the prices of the road contracts, the superseding Indictment

is legally insufficient to support a charge of conversion under§ 666(a)(1)(A). This argument is

without merit because the superseding Indictment does allege other facts which, if believed by

a jury, would support the assertion that the estimates were actually used. Specifically, Count 1

alleges that:

       It was part of the conspiracy that on approximately ten occasions between the
       time period alleged above, LEONARD LAWSON used the KTC engineer’s
       estimates to determine the amount of his bid on a particular contract. The total
       amount of these contracts was $129,969,573.58.




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       Count 2 avers that the factual allegations in Count 1 are restated and incorporated by

reference. Thus, even though the language in Count 2 was changed from alleging affirmative

use of the estimates to potential use of the estimates, other facts in the superseding Indictment

allege that Lawson used these estimates to determine the amount to bid for particular contracts.

       At this time, the Court need not address the parties’ other arguments regarding whether

substantial interference is a necessary element of conversion under § 666(a)(1)(A) or whether

substantial interference can be established without proof that Lawson actually used the engineer

estimates. Although the government has indicated that it does not believe proof of actual use of

the estimates is necessary to sustain a charge of conversion, this is only the government’s pre-

trial theory. Whether the government actually chooses to try and establish this theory will not

be known until evidence is presented at trial. However, the superseding Indictment alleges the

estimates were actually used by Lawson, so the government may choose to attempt to establish

this theory of conversion at trial. Therefore, the Defendants’ argument that the superseding

Indictment is legally insufficient due to its changed language is unavailing.

       Finally, the argument that the superseding Indictment must allege that the KTC was

deprived of the estimates for Nighbert to be charged under § 666(a)(1)(A) is also unavailing.

Although to steal or to obtain property by fraud usually means that the rightful owner is deprived

of that property, this definition does not make sense in the context of intangible property.

Information can be stolen or obtained by fraud without depriving the rightful owner of the

information. See generally Carpenter v. United States, 484 U.S. 19 (1987).

       II.     Conclusion



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      Based on the foregoing analysis, it is hereby

      ORDERED that the Defendants’ motion to dismiss Counts 1 and 2 of the superseding

Indictment [Record No. 329] is DENIED.

      This 11th day of May, 2009.




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